     Case 2:19-cv-06781-DMG-JEM Document 17 Filed 12/20/19 Page 1 of 2 Page ID #:36



 1
      Law Offices of Todd M. Friedman, P.C.
 2    Todd M. Friedman (216752)
      Adrian R. Bacon (280332)
 3
      2155 Oxnard St., Suite 780
 4    Woodland Hills, CA 91367
 5
      Phone: 323-306-4234
      Fax: 866-633-0228
 6    tfriedman@toddflaw.com
 7    Attorney for Plaintiff
 8
                          UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
      JAMES SCHAFFER, SID NAIMAN, ) Case No. 2:19-cv-06781-DMG-JEM
11    and ABANTE ROOTER AND                      )
12    PLUMBING, INC.,, on behalf of              ) NOTICE OF VOLUNTARY
      himself and all others similarly situated, ) DISMISSAL WITHOUT
13
                                                 ) PREJUDICE
14                        Plaintiff,             )
      v.                                         )
15
                                                 )
16    INSTABOOST; DOES 1 through 10, )
17
      inclusive,                                 )
                          Defendant.             )
18
             NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
19
      Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case without
20
      prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
21
      motion for summary judgment. Although this case was filed as a class action, no
22
      class has been certified, and court approval of this voluntary dismissal is therefore
23
      not required under Rule 23(a) of the Federal Rules of Civil Procedure.
24
            RESPECTFULLY SUBMITTED this 20TH day of December, 2019.
25

26
                                By:    s/Todd M. Friedman
27                                     Todd M. Friedman, Esq.
28
                                       Law Offices of Todd M. Friedman, P.C.
                                       Attorney for Plaintiff


                                         Notice of Dismissal - 1
     Case 2:19-cv-06781-DMG-JEM Document 17 Filed 12/20/19 Page 2 of 2 Page ID #:37



 1
      Filed electronically on this 20th day of December, 2019, with:
 2
      United States District Court CM/ECF system
 3

 4    And hereby served upon all parties
 5
      Notification sent on this 20th day of December, 2019, via the ECF system to:
 6

 7    Honorable Dolly M. Gee
      United States District Court
 8
      Central District of California
 9

10
      And mailed to:

11    Ray Vera
12    Instaboost
      4 Hutton Centre Dr., Ste. 580
13
      Santa ana, CA 92707
14

15

16    This 20th day of December, 2019.
17
      By: s/Todd M. Friedman
          Todd M. Friedman
18

19

20

21

22

23

24

25

26

27

28




                                         Notice of Dismissal - 2
